        Case 9:15-cr-00021-DLC Document 89 Filed 02/29/16 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA                          FILED
                           MISSOULA DIVISION                                FEB 2 9 2016
                                                                         Clerk Us       .
                                                                          Distr;ct   dl:,tnct Coun
 UNITED STATES OF AMERICA,                            CR 15-21-M-DLC           MissouJ~ntana

                     Plaintiff,
                                                     FINDINGS AND
        vs.                                        RECOMMENDATION
                                                   CONCERNING PLEA
 VERA OAKLEY,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiring to acquire or obtain

possession of a controlled substance by deception in violation of21 U.S.C. §§

841(a)(3) and 846, as set forth in Count III of the Indictment. In exchange for

Defendant's plea, the United States has agreed to dismiss Counts IV - VI of the

Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,


                                         1
        Case 9:15-cr-00021-DLC Document 89 Filed 02/29/16 Page 2 of 2



      2. That the Defendant is aware of the nature of the charge against her and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count III

of the Indictment, and that sentence be imposed. I further recommend that Counts

IV - VI of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 29th day ofFebru



                                           miah C. Lynch
                                          ited States Magistrate Judge

                                          2
